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LARRY sTEvE MELTON, LARRY s. MELTON §Q§JHJ;’ fit §§

n & J of TENNESSEE, INC., WD U,; _.N _-ACKSTG§I
Plaintiffs,

v. No. 02*1152-13

BANK OF LEXINGTON branch of the
BANK OF FRIENDSHIP, et al.,

Defendants.

 

ORDER DENYING PLAINTIFF LARRY S. MELTON’S MOTION TO STAY

 

Before the Court is the March 9, 2005, motion of the Plaintiff, Larry S. Melton, (Docket
Entry No. 555) to stay this Court’s order granting the motion of the Defendant, Carter, Stant“ill
& Kirk, PLLC ("CS&K"), to set aside default. The Court’s order, entered on February 24,
2005, determined that setting aside the default entered previously against CS&K, would not be
prejudicial to the Plaintiff and that the Defendant may in fact have a meritorious defense to the
Plaintiff’ s cross-claim based upon its pending motion to dismiss. The Court further concluded
that there was good cause for the setting aside of the default and that at worst, CS&K was guilty
of only excusable neglect for not filing an answer which would not prevent this Court’s setting
aside of the default.

The Court would note that the Plaintiff has filed, at the same time he requested the stay,
a notice of appeal of this Court’s determination As it previously found in another order denying
the Plaintiff’s request for an appeal, M Docket Entry No. 567, the order to set aside default

is not a final order and is not subject to an appeal as an order which would "materially advance

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the ultimate termination of the litigation." w 28 U.S.C. §1292(b). In the same regard, the
Court concludes that the order setting aside of the default does not warrant a stay of the
proceedings in this case and although the Plaintiff has attempted to appeal this order, it is
doubtful that he will be successful. Such an appeal, as well as other interim orders entered by
this Court in this litigation, may be the basis of an appeal when this litigation is finally
concluded.

Accordingly, for the foregoing reasons, Plaintiff’s motion for a stay as to the setting aside
of the default against Defendant Carter Stanfili & Kirk, PLLC, is DENIED.

IT Is so oRDERED this L§ da of April, 2005,

M

DANIEL BREEN
NITE STATES DISTRICT IUDGE

 

 

F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 568 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

 

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US DISTRICT COURT

